    U.S. Case 1:14-cv-00207-LO-MSN
         Department  of Justice    Document 21 PROCESS
                                               Filed 04/04/17  RECEIFTSM)
                                                                    Page 1 of 40RETURNPageID# 118
                                               See Instructionsfor "Service ofProcess by the U.S. Marshal'
    United States Marshals Service                                                            on the reverse ofthisform.

    PLAINTIFF
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                                                                                                                    COURT CASE NUMBER                           ,
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    DEFEND,                                                                                                                TYPE OF PROCESS



    SERVE                           OF INDIVIDUAL, CO                   VCOlioRATION.i'K.,                                  ON OF         ?ERTY to SElfE OR CONDEKIN

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                            ADDRESS (Streetor RFD, ApartmentNo., City, Stateand ZIP Code)                           lA. ViRGimA

    SENDNOTICEOF SERVICE COPYTO REQUESTER ATNAMEANDADDRESS BELOW:
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                /LuMm-                                                                            DEFENDANT


    SPACE BELOW FOR USE OF U.S. MARSHAL ONLY—DO NOT WRITE BELOW TfflS LINE
    I acknowledge receipt for the total      Total Process   District           District     Signature of Authorized USMS Deputyor Clerk
    number of process indicated.                             of Origin          to Serve
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    than one USM285 is submitted)                               (liJ                                                                                                              n-jon
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    on the individual, company, corporation, etc., at the address shown above or on the individual, company, corporation, etc., shown ati^^iefl'^ss iiik^ed
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   PRIOR EDITIONS                                                                                                                          FORM USM-285(Rev.12/15/80)
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   MAY BE USED                                                                                                                                  O^nstructioiis Rev. 12/08)
     Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 2 of 40 PageID# 119


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      United States District Court
                                                                    for the

                                                         Eastern District of Virginia


                  Alexander Otis Matthews




                            Plaintiff(s)
                                V.                                            Civil Action No. I:14cv207-L0-MSN

           Estrategia Investimentos, S.A., et al.



                           Defendant(s)


                                                      SUMMONS IN A CIVIL ACTION


To: (Defendant's nameand address)                       Bancorp, Ltd
                                           502 NW Sheridan Road
                                           Suite 6A
                                           Lawton, Oklahoma 73505




         A lawsuit has been filed against you.

         Within21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United-States or a United States agency, or an officer or employee of the United States described in Fed, R..Civ,
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Prowdure. The answer or motion must be served on the plaintiff or plaintiffs attorney, .
whose name and address are:                Alexander Otis Matthews #24394-016
:                                          BeriinFederal.PrisonCarap;                                      .    .
                                           P.O. Box 9000    .
                                           Berlin, NH   03570




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF CC URT



Date:
                                                                                          Signature ofClerk or Di uty Clerk
     Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 3 of 40 PageID# 120


AO 440 {Rev. 06/12) Summons in a Civil Action


                                      United States District Court
                                                                     for the

                                                         Eastern District of Virginia


                  Alexander Otis Matthews




                            Plainliff(s)
                                V.                                             Civil Action No. 1:14cv207-LO-MSN

           Estrategla Investimentos, S.A., et al.




                           Defendant(s)


                                                    SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address) Metropolitan Bancorp, Ltd
                                           502 NW Sheridan Road
                                           Suite 6A
                                           Lawton, Oklahoma 73505




          A lawsuit has been filed against you.

        Within 21 days after serviceof this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) of (3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answeror motion must be served on the plaintiffor plaintiffs attorney^
whose name and address are:                Alexander Otis Matthews    #24394-016
                                           Berlin Federal Prison Camp                                               ^
                                           P.O. Box 9000
                                           Berlin. NH   03570




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date: //(jh?/<J^                                                                           Signature ofClerk or Deputy Clerk
           Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 4 of 40 PageID# 121


                                     UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA

                                                        NOTICE


CONSENT TO TRIAL BY MAGISTRATE JUDGE


Pursuant to Federal Rule of Civil Procedure 73 and 28 U.S.C. § 636(c) you have the right to have your case
conducted before a United States Magistrate Judge upon consent of all parties. In order to proceed before
the Magistrate Judge, a consent form must be filed with the Clerk's Office. It may be filed joindy or separately.
The consent form may be printed from the U.S. District Court website (listed below) or obtained from the
Clerk's Office. Please refer to the previously mentioned rule for further information.


FINANCIAL INTEREST DISCLOSURE STATEMENT


Pursuant to Local Rule 7.1, a financial interest disclosure statement must be filed by a "nongovernmental
corporation, partnership, trust, [or] other similar entity that is a party to, or that appears in, an action or
proceeding in this Court/'-This statement should be filed with "the party's first appearance, pleading, petition,
motion, response, or other request addressed to the Court. The financial interest disclosure statement may
be printed from the U.S. District Court website (listed below) or obtained from the Clerk's Office. Please refer
to the previously mentioned rule for further information.
                                                                                                                  I




ALEXAJMDRIA DIVISION SPECIFIC INFORMATION


Infdrfnation regarding Alexandria Chambers Copy, Civil and CriminaTMotions Procedures, and OtherDivision-
Specific information can be found on the U.S. District Court website at:
http://www.vaed.uscourts.gov/ecf/documents/Alexandrialnformation-8-27-2012.pdf


WEBSITE AND CLERK'S OFFICES ADDRESSES


The website address for the U.S. District Court for the Eastern District of Virginia is www.vaed.uscQurts.gov. If
you do not have access to a computer, contact one of the Clerk's Offices listed belowto obtain eitherof these
forms:


Albert V. Bryan United States Courthouse               Walter E. Hoffman United States Courthouse
401 Courthouse Square                                   600 Granby Street
Alexandria, VA 22314                                    Norfolk, VA 23510
(703) 299-2101                                          (757) 222-7201

Spotswood W. Robinson, III                               U.S Federal Courthouse

and Robert R. Merhige, Jr. Federal Courthouse           2400 West Avenue

701 East Broad Street                                   Newport News, VA 23607
Suite 3000                                              (757) 247-0784
Richmond, VA 23219
(804) 916-2220
 Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 5 of 40 PageID# 122
      Case I:14-Cv-O0207-L0-MSN   Document 1 Filed 02/26/14 Page

                                                                   E
                           IN IT-IE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA/ALEXANDRIA.
                                                                            FEB 26?.0I4
 Alexander Otis Matthews                                               n FRK US. DISTRICT COURT
 plaintiff                                                             ^ ALEXANDRi^^

 V.                          Case No.       Ljc\J7x^lo U)r7^'J
                                                                                I 2
 Estrategia Investimentos,S.A. et al
                                                                                          ..JrtT
 defendants                                                        ci



                                         Complaint

 1. Alexander Otis Matthews,plaintiff, hereby swears to his statements herein under
 penalty of perjury, pursuant to 28 USC 1746.

 2. The plaintiff-brings this suit in his personal capacity as President and CEO of
 American Investments Real Estate Corporation, a corporation that was in good standing
during the time period of the events this complaint is based on.

3. -The events-in this suit occurred -between 5/1/2010 and 11/15/2010 in- the state of •
Virginia.

4. At the time of this suit defendant Bruce H. Haglund was a licensed and practicing
attorney in the state of California with the firm Wilson, Haglund, and Paulsen.

5. Defendant Wilson,Haglund, and Paulsen is a law firm located in Irvine, California;.

6. Metropolitan Bancorp Ltd is a New Zealand based financial services firm ^>?ith a
US branch in La\irt:on,OK, and San Jose, CA.

-7.. Estrategia Investimentos is a Brazilian bank with a US branch located in Miami,FL.
                                        Jurisdiction

8. This court hss jurisdiction to hear this complaint pursuant to 28 USC 1332.
                                           FACTS

9. American Investments Real Estate Corporation was a corporation in good standing
in Virginia that was in the business of utilizing the services of licensed and
registered securities brokers and firms to option and resell investment grade bonds.
10. AIREC worked with a securities house based in Zurich called Consirus AG who was
in the business of brokering the sale of discounted bank bonds that were listed on
various European stock exchanges.

11. For a call option fee, Consirus AG would reserve the bond for a customer, who
x^ould then have a specified period to either buy the bond outright or resell the
bond to a third party buyer.
12. These bonds were all verified through the European Financial network kno\^n as
Clearstream, or through EuroClear. The bonds were also listed and verified through
Bloomberg,LLP, the bonds being verified by their ISIN and CUSIP numbers.

                                           -1-
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13. In the suniner of 2010 AIREC paid a monthly call option fee to Cbnsirus AG for
a Bank of America bond, ISIN No. US638585AN94. AIREC's call option allowed it purchase
Bank of America bond at a price of US 88M per US lOOM, with the bond at that time
with a Bloomberg value at US 114M to US 116M.

14. AIREC sought to sell the bond to a hedge fund or insurance company who would
be attracted to the bond's price and 7.5% coupon.
15. AIREC sought to find a partner with extensive financial and banking contacts to
assist it in finding a buyer for the bond,and was able to enter into a partnership
agreement with Green Energy Capital Corporation, an Alabama company run by a Mr. Terry
Hester and located at 6767 Taylor Circle, Montgomery, Alabama, 35117.
16. AIREC and Green Energy Capital Corp (Green Energy) memorialized their partnership,
with AIREC*s equity being the call option agreement and its monthly payment, and
Green Energy's equity being the money necessairy to facillitate the purchase and resell
of the bond itself.

-17 *iBank bonds ^are isent via SWIFT, the international messaging and delivery system
susbcribed to by major banks around the world. Bank bonds do not require actual payment
up front to be delivered, but rather are delivered piarsuaht to bank to bank SWIFT
guaranties, which enables the receiving bank to receive and fiilLy verify the bond
before the payment -is releasedSWjUj-U- is an honor system between banks i^ch b^ks
take serious care not to dishonor, because its very difficult to transact internationally
mthout utilizing SWIFT mechanisms. While there are other procedures to deliver financial
instruments, SWIFT is the preferred method in Ebrope and Asia due to its reliability
and safety.

18. Terry Hester, Green Energy's president,' was in fact able to" find several buyers
for the Bank of America bond, and set up accounts for Green Energy and AIREC at Merrill
Lynch to receive the bond, Thereupon Merrill Lynch's fixed income securities desk
agreed to broker the sale after properly verifying the bond and authenticating the
bond within 3 interaational banking days of its receipt to Merrill Ljn:ich.
19. To provide-proper bank to bank guarantee for Consirus AG to deliver the bond to
Merrill Lynch, AIREC and Green Energy utilized brazilian bank Estrategia Investimentos
(Estrategia), \^o was a SWIFT member, to send a SWIFT pa5mient guarantee on behalf
of AIREC, to Consirus' bank Magyarorszagi Volksbank Z^T (Volksbank), a Hungarian based
European conroercial bank.
20. To conduct the transaction professionally and under a lawyer's guidance, AIREC
and Energy hired defendant attorney Bruce H. Haglund and the law firm of Wilson,
Haglund, and Paulsen to conduct the transaction and to act as the escrow agent for
the US 150,000.00 fee being charged by Estrategia to send the SWIFT guarantee on behalf
of AIREC.

21. Mr. AJ Berrones and Goldie Dickey of Metropolitan Bancorp Ltd act as Estrategia's
representative in the Escrow Agreement with Green Capital that is put together by
escrow agent Binice Haglund and his law firm Wilson,Haglund, and Paulsen. A^tir??
Estrategia ^AJ Berrones represents that a SWIFT MT 199 payment guarantee will be sent
on behalf of AIREC to cause the delivery of Bank of America hand with ISIN No.
US638585AN94 to Volksbank before October 22,2010. If the SWIFT MT 199 is not delivered
by October 22, 2010, the contract says that the US 150 k shall be returned to Green
Energy.
                                        -2-




                                                                                            /
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22. The partnership agreement between AIREC and Green Energy called for the parties
to split 50/50 the proceeds made v^en Merrill Lynch sold the bond to one of its parties
or to one of the parties Green Energy had found that wanted to purchase the bond.
23. Bonds are sold in tranches, and this particular Bank of America bond was a US
350 million dollar instrument. Ihe first tranche of the bond to be delivered by
Consirus AG under its call option with AIREC was a US 100 million dollar tranche.
With a US 88 million dollar call option price, and an agreement to sell that tranch
at its then Bloomberg ILP trading price of US 114 to US 116 million dollars, AIREC
and Green Energy stood to make a minimum profit of US 13 million dollars each,not
taking into consideration its fees and conanissions to Merrill Ljmch for conducting
the sale.

24. The escrow agreement with Bruce Haglund and AJ Berrones on behalf of Estrategia
is shown here as Appendix A, which includes a copy of the SWIFT MT 199 contract/
agreement \diereby Estrategia agreed to send that SWIFT MT 199 as a bank payment
guarantee to Volksbank of behalf of AIREC before October 22,2010.
25; On 10/21/2010, AJ Berrones sends AIREC and Green Energy an email confirmation
 shown as Appendix B, .which is. an email transmittal confirmation confirming the transaction
 has been sent on bdialf of AIREC. What Estrategia and AJ Berrones omitted telling AIREC
 and Green Biergy was that \diile Estrategia sent the .initiating SWIFT wire, its RMA
'6r corres^ndeht 'barik never forwarded' the SWIFT to its' final destination at Volksbank. .
 Estrategia and Metropolitan Bancorp Ltd thus breached the contract that they had been
 paid US 150,000.00 to effect, and the cxrifirmatiai information i^ich Bruce Ifeglund and
 his law fiiTO were supposed to confirm before releasing said 150k as the fee to
 Estrategia and Metropolitan Bancorp was never properly and definitively confirmed.
26.- Banks prefer to deal with banks that they have previous-relationship with, and
v^en international wires are sent from one b^k to' another one it doesn t have a
prior relationship with, the bank will use a RMA or corresponding back it already
knows to deliver the wire to its final destination.

27. In this case Estrategia had no prior relationship with Volksbank, but it did
have a prior relationship with Centnah Bank of Zurich. Centmii "Bank" had"a prior
relationship with Volksbank,and agreed to be the relay bank for the wire to Volksbank
from Estrategia.
28. Under the terms of its SWIFT MT 199 contract with AIREC,and its contract with
Green Energy, Estrategia was responsible for delivering the SWIFT MT 199 to Volksbank,
not for delivering it only half of the way to Centrum Bank.

29. Under the terms of its escrow agreement with Green Energy., both Estrategia and
Bruce Haglund broached that contract when they released the escrowed funds and paid
themselves before fully confirming that the SWIFT MT 199 had been delivered to
Volksbank.

30. Estrategia and Bruce Haglund vehimently insisted and represented to AIREC and
to Green Energy that Volksbank had recieved the SWIFT, v^en AIREC and Green Energy
were clearly told by Consirus AG that the SWIFT never hit Volksbank.
31. After almost 30 days of accusations back and forth, AIREC finally convinced
Estrategia to contact its SWIFT representative and request that he or she trace the
SWIFT to find its location. Those discussions to trace the SWIFT are shown as Appendix C.

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32. Appendix D is a SWIFT transmittal dated 11/15/2010, and shows that AIREC had been
correct in telling Estrategia that the wire never reached Volksbank, because Appendix D
shows the wire to Volksbank only being relayed by Centrum Bank on 11/15/2010,more
than 3 weeks after Estrategia confirmed that the SWIFT had reached Volskbank. By
this time, due to the delays and the false representations by Estrategia and
Metropolitan Bancorp Ltd, Cbnsirus had cancelled the transaction on AIREC for
non - performance and delays. AIREC thus lost the money it had been paying as a
call option fee to reserve the bond for the prior six months,as well as its portion
of the profits to be made on the sale,which was US 13 million.
33. Attorney and Escrow Agent Bruce Haglund was grossly negligent and failed in his
duties under the Escrow Agreement itself \^en he falsely confirmed receipt of the
SWIFT MT 199 by Volksbank on AIREC*s behalf, and ^en he further released funds to
pay for the transaction based on that false confirmation. In an unrelated transaction,
the SEC permanently barred Mr. Haglund from ever serving as a director or officer
of a public company, disgorged ^fc•. Haglund of $6,744,083.49, and issued an injunction
against Mr. Haglund for his" multiple, concurrent,and egregious violation of US
securities laws i^ere he similarly served as. an escrow.,agent for a Prime Bank Investment
Scheme in tiie state of California, see Securities and'Exch^ge Consnission v. Frances
E;- Wi-ldevet al, 0S--Dist-LEXIS-i63252 (9th- Gir-2012}. Defenda[it-Haglund broke the
Escrow Agre^ent and caused the transaction to be cancelled on A]^C when he
falsely represented that Volksbank was in receipt of: the SWIFT ^ i99 sent by
Estrategia on behalf of AIREC.

34. Estrategia and Metropolitan Bancorp broke their agreement with AIREC contained
in the language of the SWIFT MT 199 message sent by them on 10/21/2010. AIREC
^d defendants Estrategia and Metropolitan Bancorp Ltd agreed to the language after
three weeks of revision and amendments,the exact wording of such a SWIFT critical to
this "deal Mid" representing" clear" and definite"obligations by all the parties ^
contained in the SWIFT message, which forms a contract thereunder for all parties .
Estrategia and Metropolitan Bancorp only agreed to send the SWIFT MT 199 pajmient
guarantee of behalf of AIREC after a vigorous period of due diligence using their
status as a bank to confirm the value of the bond and AIREC's efforts in optioning
it at its    discounted price. They had further security in knowing that the bond
was being delivered to Merrill Lynch, whose fixed income desk has the ^status and
capability to handle the sale of such a bond. They then had miminal risk,and had no
basis upon which to seize their payments without fully verifying that they had
delivered on their obligations under the SWIFT agreement and the escrow agreement.
35. Wilson, Haglund, and Paulsen failed as escrow agent under the same basis as^
Bruce Haglund where they released the escrow money as payment without fully verifying
that the SWIFT MT 199 was received hy Volksbank on behalf of AIREC.
                                 Theories of Recovery

36. Ihe plaintiff hereby charges all four named defendants with breach of contract,
unjust enrichment, unfair and deceptive trade practices, promissory estoppel, and
breach of the implied covenant of good faith and fair dealing. Defendant Bruce Haglund
is also charged with professional malpractice.
                                         Relief
     For relief the plaintiff requests compensatory damages from all four named
defendants jointly and severally in the amount of US 13 million dollars.



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                                                  Respeo^fu]^,
                                  Dated:2/4/14
                                                  Alexander Otis Matthews
                                                  24394-016
                                                  Federal Prison Camp
                                                  PO BOX 9000
                                                  Berlin,NH 03570




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                                                                 FEB 2 I 2014    &
                                                                 U^. DISTRICT COURT
                                                                RICHMOND. VA




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Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 11 of 40 PageID# 128
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                                      PARTIES

Plaintiff(s)
1. Alexander Otis Matthews -24394-016, Berlin Federal Prison Camp, PO BOX 9000,
   Berlin, NH 03570




Defendant(s)
1. Estrategia Investimentos, S.A. - 2828 Coral Way, Suite 309, Miami,Florida, 33145
2. Bruce H. Haglund - 9110 Irvine Center Drive,Irvine CA 92618
3. Wilson,Ifeglund, & Paulsen - 9110 Irvine Center Drive, Irvine CA 92618
4. Metropolitan Bancorp, Ltd - 502 NW Sheridan Road,Suite 6A, Lawton,0kl^oma,73505
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                                  Appendix A



           FAX COVER SHEET
           TO           alex
           CX>RgANY
          FAX NUMBER 17036452317
          FROM       Alexander Matthews
          DATE          2011-05-21 15:56:49 GaslT
          RE




          COVER MESSAGE




                                     www,efax.com
  Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 13 of 40 PageID# 130
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                                        ESCROW agreement

              THIS ESCROW AGREBMBNT (this "Escrow Agreement") is ent(?ri?d mtn ah of
        the 18th day of October, 2010 by and among GREEN ENERGY CAPI1AL CORP.# 6767
        Taylor Circle. Montgomery, Alabama 36117 ("GE") ai\d AJ. BERRONE5 AND
        ASSOQATES, LLC, 1411 Davenport Drive, Merced, California 95340 f AJB"), and
        BRUCE H. HAGLUND, ESQ., Wilson, Haglund & Paulsen, 9110 Irvine Center Drive,
        Irvine, California 92618 (the "Escrow Agent"), in connection with services (the
        "Services") to be provided by the E^row Agent on behalf of GE and AJB.
              l*he termsand conditions of this Escrow Agreement are as follows;

              1.     Consideration. The parties hereto acknowledge the receipt and the

              2.    Letter Agreement GE and AJB areparties tothat certain letter agreement
        dated October 11, 2010, a copy of whidi is# attached toeto as Exhibit "A" and
        incorporate hemn by this ref^nce (the "Letter Agreement'')."

              3.   Deposit into Escrow. GE arranged for the deposit of $150,000 (the
        "Escrowed Funds") into theWilson, Haglund &Paulsen Trust Account B, identified as
        follows (the"Trust Account");

                    Bank Name: Welis Fargo Bank, N.A.
                    Bank Address; 4850 Barranca Parkway, Irvine, California 92604

                    AccountName: Wilson, Haglund & Paulsen Trust Account B

                    Account Number: 199 2342301

                    ABA Routing Number; 121 000 248

                    SWIFTCode:WFBIUSeS

       The parties hereto agree tiiat allor a portion of theEscrowed Funds may be transferred
       to the Bruce H. Haglund Attorney Escrow Account, Metropolitan Bancorp JJmited
       ("MBL"), account #116 0J2 0513, c/o Bank of America, 1311 N.W. Sheridan Road,
       Lawton, Oklahoma 73505 (the "MBT. Escrow Account"), an account maintained and
       contPoUijd eolely by the Escrow Agent for transacHonj; involving AJB, prior to the
       release of Escrowed Funds as contemplated by the provisions of S^tion 4below. Any
       Escrowed Punds transferred to the.MLB Escrow Account shall be included in the


                                            Page 1 of 6
       File No. 59049«
  Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 14 of 40 PageID# 131
To:,aiexCiage3lflt4-cv-00207-LO-MSN Doci2i«ifitEitelis:^ijQai0Sl2/26/14 Pageiiiafi0foa^Pflg»je«Miatetthatfs




           definition of Escrowed l^unds and shall be administered by the Escrow A^eni in
           accordance with the terms of thisEscrow Agreement as part of the Estfrow Funds.

                 4.     Release of Escrowed Funds.

                        4.1 Upon receipt by the Escrow Agent from an officer of MBL, who is
           aciaiowleged by tlie patties to be a duly authorized agent and representative of
           Estralegia Investimentos S.A, ("RST")/ confirming the transmission by EST of a Swift
           ^fn99 message containing the verbiage set fordi inExhibit "B" (the "Swift 1^^1199") to
           MAGYARORSZAGIVOLKSBANK 7KT ("I^VD"), U\e liacrow Agent ahall immcdiofcly
           deliver via e-mail a copy ofthe transmittedSwift MT199 to-GE and AJB.
                        4.2    ^fore tlie Swift MT 199 is sent outa copy of MT 199 will bn; sent to
          GK for approval byGE and only after the approval of verbiage by GE in email orletter
      -   ViTid the Swift MT199 be sent out. After transmitting the copy of the approved Swilt
          MT 199 that has been sent to GEand AJB, the Escrow Agent shallrelease $150,000 of the
          iisciiowed Fondsrin accordance, wi^ the instructions^ of AJB. It is understood by die
          parties that Exhibit "A" includes a copy of the approved verbiage of a Swift MT199
          mcf'ftdga from IsST toMVB refereed toas Exhibit ''B. "
                        4^     Ifconfirmation of delivery as described in Section 4.1 above has not
          been received by the parties by 2:00 PM Pacific Dayliglit Time on or before Octot>er 22/
          2010 the Escrow-Agent shall return the Funds so held in escrow to GE in accordance
          with the inshructions of GE.

                 5.     Waiver o£ Potential Conflicts of Interest. 'Jlvj psrtU^ arknnwIpdgR that
          the Escrow Holder has acted and will continue to act as legalcoun^ to AJB. The parties
          agree to waive any potential conflict of interest that may exist as a result of such
          representation and acknowledge that they have consulted with independent counsel
          with respect to such potential conflict ofinterestor have waived .sudiright. Inthe event
          ofany dispute concerning this Escrow Agreement, the Escrow Holder             llmt il will
          not act as counsel to AJB in connection with the resolulionofsuch dispute.

                6.   Agreements, Representations/ and Warranties of GE and AJB to the
          Escrow Agent In order to inducc the Escrow Agent to act pursuant to the terms of this
          Escrow Agreemeiit each of GE Jtfid AJB agrees, represents, warrants, and
          acknowledges to the Escrow Agent that:

                       6.1    TTie Escrow Agent will be entitled to rely on such notices or
          certificates in original or facifimile which, in the reasonable opinion nf thi? HKrrow
          Agent, appear to have been signed by one or other signatories hereto wifliout n\aking
          any further inquiryor in^joirlng intothesufficiency or correctness thereof.

                                                 Paipe2 of 6
          File No. 590498
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                         6.2    Tlifi liscrow Ag«snt l» acting as escrowageni onfy anil upon makii^
     .the delivery of the I^croweJ Funds in accordance with the terms of tliis Escrow
         Agrecmenk tho Escrow Agent shall have nofurther iiability hereunder,
                      6.3 Itisagreed that the duties ofdie Escrow Agent areonly assetforth
         in this Escrow Agreement as specificaUy provided, and are purely administrative In
         nature, and the Escrow Agent shall incur no liabilily whatsoever to GE or AjB for any
         action taken or omitted to be taken by the Hscrow Agent except for willful misconduct
         or gross negligence.

                         6.4    Each of the parties releases the Escrow Agent from any act
         accomplished, nmlth>d or fo hearromplishfid by the Escrow Agent in good faith and in
         theperformance of his duties hereunder.
          -              6.5   -Each of-the parties agrees, to indemnify ,and. hold harmless the
         R«:row Agent from and against all costs> ClafmS/ demantls, suits, judgments and
         HabiUties of any kind or nature Including reasonable legal w attorneysfees iiicurrcd in
         connectk»n. v/ith performance by the Escrow Agent of his duties hereunder, except witli
         respect to action or oiy»l»»siort$    or siifterfid by r^aROn ofgross negligence or willful
         misconduct on the part of the•Escrow Agent.

                        ^6     The terms and conditions of jhis EscrowAgreement are irrevocable
         unless changediWwriting^nd signedby GE, AJB, and the^^scrow Agent.

                     6.7 GE acknowledges that ihe Escrow Agent has not given either GE
        any legal advice of any kind or nature.

                       . 6.8   GE acknowledges .thaLit is not a^accredited investor'',as that tt*rm
        is defined in US, federal securities laws.

                       6,9 GE acknowledges that it has performed suffickint due diligence to
        satisfy It that entering uito the Letter Agreement aftd tliis Escrow Agnjement is in its
              interests and that it docs x\ot expcct or require that AjB or the Escrow Agent
        perform any services for GE other thanas specifically .set forth In the Letter Agreement
        and diis Agreement.

               7.     The Escrow Agent's Costs and Fees. The Escrow Agent acknowledges
        that no costs or fees shall be payable to the EscrowAgent by GEin connection with this
        Escrow Agreement; allcosts or fees of tlie Escrow Agentshallbe paid by AJB.

               8.       Notices. Any notices made between tlie parties hereto shall be made via
        either e-mail or facsimile to the e-mail address or facsimile number oi a party as set
        forth below:

                                                •Page ? of-6
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                       CK'h         furryl>estc;rl6i)gniaiI.com
                       GE's facsimile! number: (2M) 213 - 0938
                       GK's telephone number:

                       AJB'se-mail address: ai^jbassociates.coro
                       AJB's facsimile number: 800-578-3151
                       AJB'fif telephone number: 209-988-2214
                       TheEscrow Agent's e-raait: bhagluiid@whp-law.com
                       The Escrow Agent's facjiimile nimiben 949-266-8426
                       The Escrow Agent''ji telephone number; 71.4-801.-3000

          Any party may change its e-mail address or facsimile number for purposes of dhis
         t:<?Cfcion by gJvirtg the othor party written iwHcts of the new. e-mail address and/or
         facsimile number in the manner set forth above.

                9.     Severability. 1/ any provision of this £scrow Agreement shaJl be
         determined to be in any violation of, or contrary to any iaw, rule or regulation, or is
/^\      held to be unenforccrablo or invalid by any US. court of competent jurisdiction or
         arbitrator, as applicabUv the validity and enforceability of the rem^dning provisions
         shall not be affected thereby. It is agreed by all parties hereto, that in the event any part
         of this Escrow Agreementis, in fact, held to be invalid or unenforceable, tlten the parties
                                                                                      «Asf I   ^
    Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 17 of 40 PageID# 134
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                           GE's o-^maiU terryhcsted<^nialUom
                           GE's facsimile number: {334) 21.T - 093«
                           CH's telcplionanumber:

                           AjB's <f-inail addfess: a|<?fOajbassiK:iates.com
                           AJB's facsimile rtumber: 800'57&-31Sl
                           AjB's telephone numbtfv: 209-988-2214
                           The Escrow Agent's e-mail: bhagmncHgywht>law.gom
                           The Escrow Agent's facsimile number: 949-266-8456
                           Tht» Kscruw Agenfs telephone nun^bcrj 71<I-801-JU)00
          Anv partv mav change its e-mail address or f»csimil« number for pi^oses of tWs
-         Section Ijy giving the bthiic party written notice of the new e-mail acldrites and/or
         . facsimile number in rhrt otannerset fortha^ve.

                 9.        Sevcrabllity. If any provision of this £scrow Agreement shall fc«
          determined to be in «nv violation of, or contrary to any law, rule or jregtiiation, or ift
          held to be unenforarablc or invalid by any U.S. court of competent jurisdiction or
          arbitrator, applicable, the validity and enforceability of tlie remainmg provisions
     :    ghfll^not beal^ictcd thereby. It iK.agTeed bv all partiesl^reto, that intheeventauy paft
          of this Escrow Agr^menOs;in fact held to beinvalid or unenforceable, then the parties?
          hereto agree to amend this Escrow Agreement in such a manner as to fulfill tive escrow
          holder's requirement to reconstitute tlie spirit and intent of the invalid or unenforceable
          pr0Visi0n(s) to moke such provislua vwlid and enforceable.
                 10.       Aijrteiidmenta. Tliia Escrow Agreement may be amended at any time
          provided any such amendments or supplements have been agreed to and executed in
          writing by dl parties hereto.

                 11.       Governinjg Law. This Escrow Agreement shall be interpreted according to
          the laws ofthe Stale ofCralifornitt. Any diaputeti, controversies or claims concerning the
          Service and/or die performance by jeither party of the obligations under this Escrow
          Agreement shall be resolved by binding arbitration 'pursuant lo tlie Commercial
          Arbitration Rules of the American Arbitration Association. Ilie site of die arbihration
          hearinK will be IrviFW, California, and tlie hearing will be conducted Isefore a panel of
          three neutral arbitrators appointed by the American Arbitration Association. Prior ia
          commencing the arbitration hearing, the parties shall attempt in good faith to resolve
          any di5pute.s.

                 12.       Facfltmile Copies as Originals. A fully e>cecuted facsimile or electronic
          copy of tills Esci-ow Agreement and any documents referred toherein sliall be accepted
                                                       Page 4 of fj
          I'ile No. 590498
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      nnd ircotcd by the peirtt«d as An otfginai docamcnt. This Edcrow Agreement may be
      sigruHi or executed in countinrpdrts.

             13.      Entire Agreement. This Escrow Agreement, togetlw wiHi the related
      agreements and obligations referred to hereia and as created in accordance with the
      terms hereof, contains tiie entire agreement between         AJB, and the Rscrow Agent
      end supersedes, or integrates into, ail prior verbal or written agreements,
      reprczsentations and understandings of the partiis Iiereto. If any terms or conditions of
      any previous veriial or written understanding or agreement are In conflict with any
      tdjrms or conditions of tlais B^tcrow Agreement, all terms, conditions and agreements a$
      set forth in this Escrow Agreement shall survive, be primary and supersede any
      previous agreements. No terms or conditions, other than as contained in tliis Escrow
      Agreement shali i^e ofany legal force oreffect, and shall be null and void Ibrever.




                                            Pog«? 5 of 6
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                  IN WITNESS WHEIUiOlv tlie parties have executed this Escrow Agi'eement as
          of October 18,2010


          CKHEN ENERGY CAJ>JTAL CORP.



          By:
                l^rrv Hester, President
                ThereuntoDuly Authorized


          A,J. BERMNES AND ASSOCIATE, LLC


          By:J^r                  ^
            v^A.J. Stones, Manager,
         /      Thereunto Duly Authorized




         BRUCEH. HAGLUND,^SQ.
         Escrow Agent




                                            Page 6 of 6
        File No. 590498
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                      IN WITNESS WHEREOF^ ihe parties have executed this EscrowAgreement as
              ofOctober 18,2010                                                 <7-

              GREEN ENERGY CAPITAL CORE


              By:
                    Terry Hester, Preadent
                    Theieunfo DulyAuthorized

              A.J. BERRONES AND ASSOCIATES, LLC


              By: —                               .
                     AJ. Benones, Managex^
                    .Tlicreiinto DulyAuthorized



                    rCEH.HACLl
             Ewww Agent




/—N                                                   Page 5 of 5
             File No. 590498
  Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 21 of 40 PageID# 138
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                                               EXHIBIT "A"


                                          LETTER AGRiEEMENT


        For and iJi consideration of the agrefiments of AJ Rftrronf-s and Associates, LLC (AJB)
        hereinafter set forth. Green EnergyCapital Corp. (GE) has caused the sura of
        $150,000.00 to bedeposited in trust with Bruce IrJ. Haglund, Esq.^ Wilson, HagJund &
        Paulsen,. 9110 JrvineCenter Drive, Irvine, OA92618 (Escrow Attorney), to be held in
        accordance with that cortain Escrow Agreement of even date, to which reference is here
        nuide.


        Tho 5?wif!* MTl9y sh-all be for tJic purpose of showing funds- availability.
        AJB agrees to deliver to GE and ^crow Attorney authentication and cOi'ifiriTiation of
        issuanceof a previously agreed upon SV^rFFT M'n99 message from Estrategia
      - Investlmentos S.A- to MAGYARORSZAGIVOLKSBANK ZRT- (See ExhlBit B).Such
        proof shall be in the form of bankconfirmed copics of the said hnessage/including all
       i.»«rtmCTt^                              verifying issuance perrequired veybiage as.
       contained in the attached Hxhibit B, on page 2 hereof, which is fiilly incorporatedherein
       by rf»feronc«»;

       Lfpon presentation of the swift transmission with authentication codes of tlie Swift
       Mn99 as set forth above, as Exhibit "B " GR, withfull corporate authority hereby
       instructs EscrowAttorney to release to A]B the sum of $750,000.00. The agreed sum
       shall remain at all times prior to disbursement in the escrow account of the Escrow
       Attorney and shall be releasedonly in accordance with the tei'msof the Escrow
       Agreamonl for this h'on.oaction.

       Acknowledged, jigrecdand acccpted this 18th day of October, 2010.

       AJ            and^ssociates, LLC          Green Energy CajjitaLC




       Witness:                                  Witness:




      File NalOinOAfBADO
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  Case I;14-Cv-O0207-L0-MSN Document 1 Filed 02/26/14 Page 18 of 24 PagelD# 18




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                      do A^iaAxnaa aawnxdNoo ^sfJLzJV SAVO onxmnvs WNO*xvNa3J.N2
                          33MHxnsrjurv anaviivD^ga iwhs aajLNVHvns) JLNawAVd yno

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                           aanssi aaiOAWi 3±vy0<i>j0D 3Hi Ni 03aiyDS3a sv iMBwnyisiMi
                          >JNVg 3Hi. do N0UVailN3HXnV QNV NOUVDWiygA 'ldI303y NOdO


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                                     OSilWn dyOONVa NldOiiV              :eajBN >fUBg

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                       ox ysdSNVUL ayiMasd >jo :i>irM jjms as jiwawAVd 3mvw iiim
                                                                          '319V1IV/\V
                          QNV AaV3y 3W SQNfU AWSS3D3N 3H1           WyUNOD y3Miynd
                     3M 'J-N^WnHXSNI aiVSdO JLdlSCQ'a dO SAVO £)NI>}NV0 IVNOUVWyaiNI
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                       ynOA y3d sv t^6NVS8S8E9Sn NISI HJLIM QNOa VDI^awV dO >INV8 dO
                       HxyoM (ooo'ooo'ooTi^sn) suvnoa 'S'n Nomiw cis^oNnH 3no yod
                      AVd Oi 'Nonvyodyoo 3iiVJLS3 ivaa 1N3MJLS3ANI WVDm3WV dO
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 Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 23 of 40 PageID# 140
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        Please deliver the Instrument to the following bank coordinates;

        ADA:   026009593


        SWIFT-BIC; B0FAUS3N


        Bank Name: BANK OF AMERICA N.A.

        Bank Address: 100 W€ST 33'*'' STR€ET, NEW YORK; NY, U.5.A

        Account No. 6550113516

       Account Name: MERfULL tYNCH

        For Furtber Credit To: GREENfNggCYO^Pin^^

       Account number: 671-0Z495


       BOND TO BE TITLED TOs GREEN ENER16Y CAPITAL CORPORATION

       WE HEREBY CONFIRM THAT THEFUNDS ARE GOOD,CiCAN AND OeAREO RINDS OF NON-
       CWMINAL ORIGIN AND FROM WtiAL SOURCE:




      FHe No. 101110AJBADO
    Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 24 of 40 PageID# 141
 5/2i/26i|se l:14-cv-00207-tO-MSN                                                                               2°
   Fwd: Please relay this email to GREEN ENERGY CAPITAL
          • •. • • • THIR.Y Hi»itK(terTYhesterl@gm^PSMtif^''
               Mon 11/08/10 10:58 PM • •           "
     •:        Alexander Matthews (aIexanclermattheWs87(g)hotmail.oqm)



               Forwarded message
     From: at'gQjbassociatesxofn <ai@aibassodate5.a3m>
     Date: Men, Itov8,2010 at 1:15 PM
     sul^'ect: Fwd: Please relay this email to (a^EN ENERGT CAPITAL
     To: Hester Terry <terryhesterl@Qmail.com>




     Sent from my iPhone 4

     B^in forwarded message:


               FlrOitnc Goldie CMckey <Qoldie@m6trQb3ncQrD.ngt>
               Date: November 8,201011:14:17 AM PST
               TO! "g1@a1bassodates.com" <al@afba550ciatg5.com>,, 'Bruce Haglmd' <bhaQlund@Qhp-
               law.com>, 'Bruce Haaiund' <bhaQ!un^whD-law.Qom>
               Cc: 'jay berrones' <ema{l|ayb@ama}l.com>r "cQdv@metfiDbanoorp.ner
               <codv@mefax>bancorpJiel>
               Subject: Please relay thb emaHto GREQ!4 EfCRiSY CAPITAL


               SenC\/ia Bnail ( kjncffy relay to Green Energy CapitBl)




               Dear Green Energy Capital:



              WeMetropolitan Bancorp LTD, an Institutional Representative of Estrategia Investamentos SA.
              confirm tiie MT199 that was sent to Magyarorszagi Volksbank ZRT and was relayed through
              Centum Bank. Acopyof the transmission was provided to you. Ifthere is an issue related to
              locating the swift Miri99 please have the receiving parbes Banker email me. K: is standard
              practice that we do not receive any meessagc back from a relaying bank unless there is an issue
              such as the bank's unwillingness or inability to relaythe swiftto Volks bank or Volks Bank not
              accepting the swift




              For your convenience, please see all my contact lnformation(s) -below, Tiiank you.

...iive.com/mail/PrintMesrages.asp>^?cpi...                                            .                             I/3
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            Sincerely:




               ^/!et^opo^tan Bancarp
              Vbur Ptrt^ncfaf 5o?utiort JViade SmTi|)le


                   Dickey

           Metropolitan Bancorp Ltd,

           Level2QfASBBank Centre

           13S Albert Street


        rAucldand^ New Zealand WXO

           Phone:-^649 359 7449 Fbx: ^-649359 7459




           Onh:^States Contact Hirormatkin

           Caffforna Branch:


           2150 Tradezane Bh/d. Suite 108

          San Jdse^ CaBfornta 95X31

           mke408'74S'-1832

          0ax 408-904-7595

          Mobile 951''990-9509




          Okfahama Branch:


          502 PWStTerkfan Road Su^e 6A

          LawtoPf Oklahoma 73505
.lfve.com/maH/PrlntMessages.aspx?q)L..                                              2/3
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            mice: SS0-3SS''58a0


            fax sao-sss-tms

           MobSe: 951'99(h9509                            •   *




           Bm^ aoUfe&metiioianctHn.net

           Website: vmmmetrobagKorp.net



           DBOAIMERiThis e-mal and any attachments are confidentfef, They may contain priyaeged
           hfonrjatton and arc htended for the named addnasseeCs) only. Unfess expressly stated, options fri
           this e-ma9 are those ofthe ^dividual senderand not ofMetropoEtan Bancoip LTD« Any review,
           retransirtsston, dbssmlnatton orother use of, ortaldng ofany actton"« mfence upon thfe hfonnatton
           by persons orentries other than the Intended rccljjtent is prohibited. Ifyou are notthe intended
           iBclpfent,.pfease cai ore-ma5 thesender and deJete this message and any attachments immediately.




.liv&oDnVmali/PrintMessage&aspj^cpi.,.                                                                         3^
       Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 27 of 40 PageID# 144
5/2V201?ase I:14-Cv-O0207-L0-MSN                                                    Page 23 of 24 PagelD# 23

    RE:                                            A
                                                   Appendix rC
    • rVtr^r-.; Ato Sackey (atosock:y@hotrnail.com)
               Sat 11/06/10 4:01 AM
       Tt:-;   TERRY HESTER (terryhesterl@gmai!,cxjin)
    • Cc; ^ ALBCANDB^ MATT1-©A/S (alexandermatthews87@hotma}!.c»m)

    . Terry,
    . The worid of finance does not work like that. The onbus is on you to prove that
      a swift was sent Therefore you i^UST get a cxjipy of the forwarded swift from
      Centrum bank or Estrategia. No-one, least of all Phililp is going to waste their
      time and risk ©<posure by calling other banks with whom he has no relationship.
      You MUST get a cx3py of the Centrum swift, period.
      Regards,
_     Ato




      Date: Fri,-S Nov2010 14:56:00-0500
      Sutqect:
      From: terryhesterl@gmail.oom
      To: abosadcey(0)hotmail.Gom
      GC: alexandermatihewsb7(S)hotmaii.cx)m

      Dear Aix?:                                                                                       .     -


           The swift was sent thru Centrum BankZurich tn Volksbank it was delivered and confirmed. If Philip wants
      6o speak to the banker at
      Estrategia to confirm the swift call him at + 552192452598 DIRECT or email him at a i>ank certified e mall at
      SINDHU @ ESTRATEGIA
      lNVESTIME{v[r0S.C0M. If Philip wants anything else let iiim call or email and the banker will accomodate,

    • Bottom Line we are tired of all the bull we want the instruments delivered to Merrill Lynch immediatjsly.

      Sincerely,

      Terry Hester President
      Green Energy Capital Corp.




.live.coni/mail/PrlntMessage3»aspx?cpl...                                                                             1/1
Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 28 of 40 PageID# 145
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 MaWung 020101115000005, Status *90 zur Atrfaj©'
                                                    Appendix D



SendQr(}SN01160.t.0S46)                  SWIFT LT                           CBZHCHZZAXXX

Receiver                                 SWIFT LT                           MAVOHUHBXXXX

                                         Priori^                            N. Normal withoutdeliverymonitoring

20:Transac)lon Ralarenca Nundper        Transactfon Reference Number        U1039XXX11537415
•.m^K&smwe                               WE HAVE RECEIVED THE FOLLWING MESSAGEWHICHWE
                                         REUY WITHOUTOBLIGATION AND AUDITBYCENTRUM
                                         BANK (SWITZERLAND) AG
                                        OUGTE
                                        FOR AUTOFIN BANCORPLTO.ACC.NO 11113401Q1 FOR
                                        RJRTHffl CREDITTO CONSIRUS AG,ACC.NO-1111121180.
                                        WE.ESTHATK3IA INVESTIMENTOS S A, RIO DE
                                        JANEIRO,BRAZfL,UNDefi fULL BANKING RESPONSIBIUrTY
                                        HEREBY ISSUEOURIRREVOCABLE,DIVISIBLE,
                                        ASSIGNABLE, TRANSFERABLEBANKPAYMENT GUAfWtTEE
                                        IN Fm OF CONSIRUS AG ON BEHALF OF AMERICAN
                                        INVESTMENT REALESTATE CORPORATION AND
                                         METROPOLITAN BANCORP,TO PAYAN
                                        AMOUNT OF EIGHIY-EIGHT MILLION
                                        lISnOU-ARS FOR ONE HUMORED MILUON
                                        VALUEOF BOA BONO,IS!N-USe38585AN94
                                        UNDERTRANSACTIONCODEaa-SSOM.OO.
                                        PAYMENT GUARANTEE tS CALLABLE 3
                                        BANKINQ DAYS AFTER RECeiPT,
                                        VERIFICATION ANDAUTHENTIOATION
                                        OF BOND DELIVEREDTO BOA, SWIFT-
                                        BOFAUS3N>^CC>lUKeER:6550113516,
                                        ACCTJ»1AME:MERRIH. LYNCHCREDIT TO
                                        GREEN ENERGYCAPttALCORP.ACC.NO:
                                        871^>a495.aOND TTTLED TO GREEN
                                        ENERGY OAPrrALCORP. FUNDS ARE
                                        aEAN AND CLEAR.
                                        FOR ESTRATEGIA INVESTIMENTOSSA,
                                        ALEXANDRO MAHCa PHELUPE BBMMARRAN
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                                        ON -43S2192452S98(DIRECT). EMAIL*
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Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 29 of 40 PageID# 146




                                                                                            Alexander Otis Matthews
                                                                         CD                 Berlin Federal Prison Camp
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Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 30 of 40 PageID# 147
    Case I:14-Cv-O0207-L0-MSN Document 4 Filed 06/09/14 Page 1of 1^gID#5^
                                                                                    • --JD




                                      STATES DISTRICT CHURT
                  FOR THE EASTERN DISIRICT OF VIRGINIA/ALEKANDRIA
Alexander Otis Matthevs
plaintiff                                                                               VUiG'MA   '



                                 Case No . l:2014-cv-207

Estrategia Investimentos,S,A., et al
defendants

                       Supplement To Breach of Contract Claim
o. cS^xsrSLTs ste-                                   "•TO
  in whole or in part, S sS SSson " thJ^f^v,                     be made for the benefit,
  deals with the right of a claimed third. nar)-« ^ applicable Virginia law vWch
            Tiust V. Wells Varpr. pflnV Nrt                     of a contract. Beynolds '"
  ^-'•1-h^ir ^Ollj.       "^o           M-A., (InRfrRevnolrisV^ US Bankr. miS' 3352"^

  p^a®nS'^pir^to^tte'^tSil^FT                              ^ AIRBC's GED/President)




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 underlying AIRBC's call o^nn     m^                         *<5 tohavinl^u
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 for br^h of contract, the suit also time]v 1^0^^
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 Virginia the statute ol lindStLS is 5^^?   ^ ®         contract in


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                                                      PO BOX 9000,Berlin    Camp
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Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 31 of 40 PageID# 148
     Case I:14-Cv-O0207-L0-MSN Documents Filed 08/13/14 Page 1 of 2 Page ID# 51


                         IN THE UNITED STATES DISIIlICr ODURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA/ALEXANDRIA
  Alexander Otis Matthews                                                        FILEO
  plaintiff                                                                   MAKl^GOM



                                                                           AUG 1 3 2014
  V-                        Case No. l:2014-cv-207
                                                                      CLERK, U.S. DISTRiGT COURT
                                                                         ALrAA;.:.ori.A. ViRQiNiA
  Estrategia Investimentos,S.A.,et al
 defendants


                            Rule 15(a) Amendment To Suit
              Now Alexa^er Otis Matthews,pro se plaintiff, and for his Rule 15(a)
 toSfon folioIdS™ ®®                  ^         ainendment without leave of the court.
                         adopts his initial suit in its entirety, includine the
 Ami 3 k ?             ? Breach
                      thxs addiUof Contract Claim, and
                                     claim, against    through thisdefendant,Centrum
                                                    an additional    Rule 15(a>      •

                  fully i^orporates the information in paragraph 1-35 of his oriffinal
 complaint xn bringing this claim against Centrum Bank LID of Switzerland.
                                        rtiillion SWIFT
 plaintiff s transaction, Centrum Bank received         199 at theSWIFT
                                                  the initiating    heart
                                                                        199offrom
                                                                               the "
 Estrategia on October 21,2010,as confirmed by the SWIFT receiot shown hpr^ ac
                      receiving the SWIFI on October. 21,2010 ,which ttley werf
 ^^patid^der the rules of their SWIFI membership to ijnmediatelv relav to
 Volks^nk per the SWI^ message instructions, Centrum sat on the Sl^IFT 199 and
 s5 ^                                           on .11/15/2010, as c^nEd'S ?he


 4. Under the contractual terms of the SWIFT 199 a&reenf»nh                     vt
                        membership. Centrum Bank owldX pla?ntSfInd AI^cT
                            forward the SWIFT message sent to it by EstratSia
 Centrum Bank broached that duty owed the AIREC and Hia r»iaTr»np<: i,
 negligently and inexplicably hel^Se SWOT 199          Wtwlt^o^'^nf'™?^


of                                2»Ls iaiis.-*"""                           " •ss:''
                                          -1-
Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 32 of 40 PageID# 149
    Case I:14-Cv-O0207-L0-MSN    Document 5 Filed 08/13/14 Page 2 of 2 PagelD# 52



6. The plaintiff, as President and CEO of AIREC, has full standing to prosecute
this suit in his personal capacity as CEO and President, piis is pursuant to Va.
Code Ann           v^ereby upon termination of a coloration's existencet its"
properties affairs shall pass automatically to its directors as trustees in
liquiyion. see Flip-Mortgage v. Mcelhone, 841 F.2d 531,535 C4th Cir 1988).
Appendix C to this document shows that AIREC's corporate existence was revoked
on February 28,2011, long before this instant suit was filed, and as a matter of
law all of AIREC's affairs and properties were automatically placed in the name
of the plaintiff on February 28,2011, and the plaintiff was also vested with the
authority to act in his name on bdialf of the dissolved entity.
7. Because Centrum Bank is a foreign entity based in Zurich, Switzerland, the
plaintiff will effect service of the summons and the complaint via Centrum Bank's
email, such service having been permitted by the H)VA/Alexandria courts in prior
suits involving foreign defendants, see Whoshere,Inc., v. Gokhan Orun. U.S. Dist
LEXIS 22084, Civil No l:13-cv-00526-AJT-'iliJ, ( 4th Cir 2014).

8. Based on the foregoing, the plaintiff charges Centrum Bank with negligence
under the common law of the (birsnqnw^lth of Virginia. Ihe plaintiff also charges
Centrum l^nk with breiach oiE contract under Virginia law,as well as a breach of
the .implied covenant of good faith and fair doling.
9 The plaintiff requests the sum of 13 million USD from Centrum Bank as damages
for his injuries.


            _                                        Res

                                          8/7/2014
                                                     Alexander Otis Matthews
                                                     AIREC CEO/President
                                                     24394-016
                                                     Berlin Federal Prison Camp
                                                     PO BOX 9000
                                                     Berlin,NH 03570




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     Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 33 of 40 PageID# 150
       Case I:14-Cv-O0207-L0-I\/ISN Document 5-1 Filed 08/13/14 Page 1 of 5 PagelD#53
                                                  Appendix A
TRULINCS 24394016 - MATTHEWS, ALEXANDER OTIS - Unit: BER-G-A

FROM: Gill, Geena
TO: 24394016
SUBJECT: Email 4
DATE: 02/07/2014 08:51:03 PM

Thank u

From: alexanclermatthews87@hotmail.com
To: terryhester1@gmail.com
CC: alexandermatthews87@hotmail.com
Subject: Copy of the ACTUAL SWIFT 199 we sent from Estrategia Investimentos
Date: Tue, 17 May 2011 17:00:10 +0000                         "vc;,umemos


.From: ale.xandermatthews87@hotmail.com
 To: alexandermatlhews87@hotmail.com
.Subjecl:-FW: Copy of the^WlFT 199
 Date: Wed, 10 Nov 2010 02:06:11+0000


Subject: Fw: Fwd: Copy ofthe 199
To: alexandermatthews87@hotmail.com
 From: alexandermatthews87@hotmail.com
Date: Fri, 22 Oct2010 13:38:48 +0000
From: TERRY HESTER <tenyhester1 @gmail.com>
Date: Thu, 21 Oct 2010 18:31:32-0500
To: Alexander Matthews<alexandermatthews87@holmail.com>
Cc: Ato Sacl<ey<atosackey@hotmail.com>
Subject: Fwd: Copyof the 199

Dear Sirs:

Please find a copyof MT199,
Terry Hester
     — Forwarded message
From, aj@ajbassociates.com <aj@ajbassociates com>
Date:Thu. Oct 21,2010 at 6:09 PM
Subject: Fwd: Copy of the 199
 To: Hester Terry <terryhester1@gmail.com>

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 FOR ALTOFIN BANCORP LTD.ACC.NO
 1111340101 FOR FURTHER CREDIT
 TO CONSIRUS AG,ACC.N0-1111121180
WE.ESTRATEG1A INVESTIMENTOS S.A..
RIO DE JANEIRO,BRA21L.UNDER FULL '
 BANKING RESPONSIBILITY HEREBY
 ISSUE OUR IRREVOCABLE,DIVISIBLE,
 ASSIGNABLE. TRANSFERABLE BANK
       Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 34 of 40 PageID# 151
         Case I:14-Cv-O0207-L0-MSN Document 5-1 Filed 08/13/14 Page 2 of 5 PagelD# 54

 TRULINCS 24394016 -MATTHEWS, ALEXANDER OTIS - Unit; BER-G-A

PAYMENT GUARANTEE IN FVR. OF
CONSIRUS AG ON BEHALF OFAMERICAN
INVESTMENT REAL ESTATE CORPORATION
AND METROPOLITAN BANCORP.TO PAY AN
AMOUNT OF EIGHTY-EIGHT MILLION
USDOLLARS FOR ONE HUNDRED MILLION
VALUE OF BOA BONDJS1N-US638585AN94
UNDER TRANSACTION CODE:23-350M 00
PAYMENT GUARANTEE fS CALLABLE 3
BANKING DAYS AFTER RECEIPT.
VERIFICATION AND AUTHENTICATION
OF BOND DELIVERED Tp BOA. SWIFTB0FAUS3N
ACC.NUMBER:6550113516.
ACCT.NAME:MERRILL LYNCH CREDIT TO
GREEN ENERGY CAPITAL CORP..ACC.NO-
871-02495,BQNQTJTLEDTO.GREEN . * .                      -
ENERGY CAPITAL CORP. FUNDS ARE
.CLEANJ^ND.CLEAR.                                   -               _
FOR ESTRATEGIAINVESTIMENTOS SA.
ALE^NDRO MARCEL PHELLIPEBBM MARRAN
PIN:M-191 PIN:P-196                                                             —
ANY QUERY PL REVERT TO COMPLIANCE
ON+552192452598(DIRECT), EMAIL:
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     Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 35 of 40 PageID# 152
       Case I:14-Cv-O0207-L0-MSN Document 5-1 Filed 08/13/14 Page 3 of 5 PagelD# 55


TRULINCS 24394016 -MATTHEWS, ALEXANDER OTIS -Unit; BER-G-A                   I

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urGulst^)}                                                                      •
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Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 36 of 40 PageID# 153
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    MsWung 020101115000005,Status*80airAhlaje'                                                                      ^   ^
                                                     Appendix B


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    MARK C. CHRISTIE              Goi^MONWEALTH- of Uft
     COMMISSIONER
                                                                                                            IA-
    JAMES C. DIMITRI                                                                                                         JOEL K. PECK
     COMMISSIONER                                                                                                       CLERK OF THE COMMISSION
                                                                                                                             P.O. BOX-1197
JUDITH WILLIAMSJAGDMANN                                                                                             RICHMOND. VIRGINIA 23218-1197
    COMMISSIONER


                                             STATE CORPORATION COMMISSION
                                                            Office of the Clerk                                 December 10, 2013
            ALEXANDER MATTHEWS
            24394-016 BERLIN FEDERAL PRISON CAMP
            PO BOX 9000
            BERLIN, NH 03570



      RE:              AMERICAN INVESTMENTS REAL ESTATE CORPORATION
      ID:              F144027>2         V:: v:                   :   •

      An application to the State Corporation Commission for reentry on behalf of the above-
      teferenced corporation must be received within 5years of revocation and must meet all
                                                                ofVirginia forstock corporations, or
      Section 13.1-931.1 of the Code of Virginia for nonstocl< corporations. In order to compiv with
      these requirements, your application for reentry must include;
      1. Aletter requesting reentry signed by an officer or director of the corporation.
                                    order payable to theStme-Cofporation Commission in the amount of
            $540.00 to cover the following:
            Reentry fee:      $100.00

            Registration fee{s) and penalties (if applicable): $440.00
            for the following year(s): 2010 2011 2012 2013
      3. An annual report on the enclosed form, recently dated and typed or printed In black ink.
      4. Aduly authenticated copy of any amendments made to the articles of incorporation by a
            foreign corporation and any mergers entered into by a foreign corporation from the date of
            surrender or revocation of its certificate of authority to the date of application for reentry
            along with a $25.00 filing fee for each amendment ormerger that is separately
            authenticated.                                                                                 ^        ^

      Finally, if the registered agent and/or registered office address has changed complete and
      return the enclosed form SCC635/834.

      DATE OF SURRENDER or REVOCATION: February 28, 2011

      REINSTAT
      CIS0372

                                        Tylor
                       Clerk s Office (804)   Building,
                                            371-9733 or 1300East
                                                         TOLL-FREE Main Street, Richmond,VA
                                                                     IN VIRGINIA              23219.3630
                                                                                  1-866-722-2561 www.scc.vlrolnla nnv/rlV
                                           VisithttP3://sccefHe.3cc.vlrginla.aov to viewonlineservices
                                       Telecommunications Device (orthe Deaf-TDD/Voice; (804) 371-9206
                          Case I:14-Cv-O0207-L0-MSN Document 5-2 Filed 08/13/14 Page 1 of 1 PagelD# 58




^>24394-016<=^
       Alexander Otis Matthews
       Berlin Federal Prison Camp
       PO Box 9000
       Berlin, NH 03570
       United States




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                                                                                                         Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 38 of 40 PageID# 155
Case 1:14-cv-00207-LO-MSN Document 21 Filed 04/04/17 Page 39 of 40 PageID# 156
     Case I:14-Cv-O0207-L0-I\/ISN Document 6 Filed 09/09/14 Page 1 of 2 Page ID# 59


                          IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA/ALEXANDRIA
Alexander Otis Matthews
plaintiff                                                          ,                        •j




V.                          Case No l:2014-cv-207
                                                                    j
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Estrategla Investiinentos,S.A. ,et al                                   GLL   •       ;         :CTCOURT
                                                                          /..ii-'A.;-     , .       A
defendants

                 Supplement to Rule 15(a) Amendment Dated 8/7/2014

r^
Dated 8/7/2014, basedMatthews
                      on the hereby  files a supplement to the Rule 15(a) Amendment
                              following:
1. In the Rule .15Ca) Amendment, the court was Informed that pursuant
                                  vjhen';^a Virginia CoTcpor^tion has its certificate of
operation cancelled for nonpayment of fees,- the         and affairs ot the cdnroahy
automatically pass to its diiectcfr as trustees in liquidation ; those liquidating
         :^veJhe power t^^                                   the name, of and on b^lf
of the cancellHi corporation.

?: As shown in Spain v. Williams>2011 Bankr. LEXIS 1866 (E.D.Va., May 19,2011)
liquidating tostees are able to litigate on behalf of the cancelled LLC in their
capacity as Uquidating trustee, the LLC not requiring a la\^er's representation
 as .U normally M^d if it^was- a~recogn-ized--eompffijy--atdrH in- good standing in the •
 Commonwealth of Virginia* In Spain v. Williams", member Spain litigated in her
 ^pacity as trustee on behalt ot iteadegar, the cancelled LLC, holding "[Tlreadeear
 IS styled in the caption of this adversary proceeding as one of the two plaintiffs,
but is more appropriately recast as a mere stak^older and the object of the
                                independently represented and its legal existence has                       .
l!
tor failure ^
            to payop^ation
                   its annualofregistration
                                jaw by the Virginia
                                            tee^ Va. State Corporation
                                                      Code Ann.        eonimlasI55~
                                                                13.1-1064 (2010)."
3. In light of the foregoing and 13.1-752 , the caption of the suit Is hereby •
amend^ to pro^rly reflect Alexander Otis MatthewsCapacity as trustee in liquidation
on behalf of Meric^ Investments Real Estate Corporation in the foUovdng manner:
                                  Alexander Otis Matthews
                                   trustee in liquidation on behalf
                                  of American Investments Real Estate Corporation
                                  plaintiff,pro se
                                  V.                    Case l:2014-cv~207

                                  Estrategia Investimentos,S.Aj^^t al
                                  defendants                   i
                                                        R/^^ctf
                                             9/4/2014
                                                        Alexan^r Otis Matthews
                                                        Trustee in Liquidation
                                                        24394-016, POTOX 9000
                                                        Berlin Federal Prison Camp
                                                        Berlin,NH 03570
                             Case I:14-Cv-O0207-L0-MSN ,Document 6 Filed 09/09/14 ,Page 2 of 2 Page^D#60




<s>24394-016<»
       Alexander Otis Matthews
       Berlin Federal Prison Camp                                                         VT GSO;r ,
       PO Box 9000
       Berlin, NH 03570
       United States




                                                   24394-016<»
                                                       U ,S District Court
                                                       Eastern Dist. Of VA
                                                       401 Courthouse SQ
                                               '       Alexandria, VA 22314
                                                       United States




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